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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION

WANDA COOPER, in her individual             *
capacity and as Administrator of the Estate *
of the decedent AHMAUD ARBERY,              *
                                            *
       Plaintiff                            *
                                            *
       v.                                   * Case Number: 2:21-cv-00020-JRH-BWC
                                            *
TRAVIS McMICHAEL and GREGORY                *
McMICHAEL and WILLIAM BRYAN and *
POLICE OFFICER ROBERT RASH and              *
POLICE OFFICER RICKY MINSHEW and *
GLYNN COUNTY and JACKIE                     *
JOHNSON and GEORGE BARNHILL,                *
                                            *
       Defendants                           *

                             MOTION TO DISMISS
                    PLAINTIFF’S FIRST AMENDED COMPLAINT
                        BY DEFENDANT GLYNN COUNTY

       COMES NOW Glynn County, Georgia, and pursuant to Fed. R. Civ. P. 12(b)

moves the Court to dismiss all claims asserted against it in Plaintiff’s First Amended

Complaint.1 In support of this motion, Glynn County shows the following:




       1
               Glynn County moved to strike Plaintiff’s First Amended Complaint as
improperly filed, and opposed Plaintiff’s motion for leave to file the untimely pleading
nunc pro tunc. Dkt. 114; Dkt. 123. The Magistrate Judge entered an order granting Plaintiff’s
motion and denying the County’s motion, to which the County has filed objections that
remain pending. Dkt. 128; Dkt. 132. The Magistrate Judge ordered Defendants to respond
to the First Amended Complaint by August 29, 2022. Dkt. 128, p. 15. Pursuant to the
Magistrate Judge’s order, the County is filing this motion to dismiss the First Amended
Complaint, but in so doing does not waive its motion to strike the pleading or any of the
arguments raised in support of that motion.
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                                        Introduction

       This case arises out of the fatal shooting of Plaintiff’s decedent, Ahmaud Arbery,

by Defendant Travis McMichael, a private citizen. The alleged witnesses to the shooting

– Defendants Gregory McMichael and William Bryan – were also private citizens. No

one affiliated with Glynn County was present for the shooting, or for any of the events

preceding it. No one affiliated with Glynn County directed, approved, or had any

advance knowledge of the actions allegedly taken by Bryan and the McMichaels on the

day of the shooting. Nonetheless, Plaintiff alleges – based on a text message sent by a

County police officer to a nonparty more than two months prior to the shooting – that

Glynn County “deputized” Bryan and the McMichaels to act on its behalf. From that

erroneous premise flows Plaintiff’s sole claim against Glynn County, for “failure to

supervise, discipline, and train.”

       Plaintiff’s attempt to impute to Glynn County the actions of the private citizens

involved in the shooting of Arbery suffers from at least three fatal flaws. First, a street-

level officer cannot deputize private citizens to act on behalf of the government. Second,

even if it were possible for deputization to occur in such a manner, the scant factual

allegations pleaded in the First Amended Complaint would not support a claim that

such a deputization occurred here. Third and finally, the unforeseeable intervening acts

of other persons preclude the drawing of any causal link between the actions of Glynn

County officials and Arbery’s death. Glynn County played no role in the shooting or




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the events preceding it, and Plaintiff consequently cannot state a claim against the

County under any theory of recovery.

       The specific claim Plaintiff has chosen to assert against the County fails for

additional reasons. Plaintiff does not allege a pattern of similar incidents that could

have put the County on notice of a need for more, or different, training, and thus could

not maintain a claim for “failure to supervise, discipline, and train” even if the

deputization arguments on which that claim relies were otherwise sound. Further,

Plaintiff’s claims against Glynn County are predicated on allegedly wrongful acts by

Defendant Rash, but Plaintiff has failed to state a claim that Rash engaged in any

unlawful conduct for which Glynn County could potentially be held liable. Plaintiff has

not asserted, and cannot assert, a viable claim against Glynn County, and dismissal of

the County from this action is warranted.

                                    Statement of Facts

I.     An out-of-town property owner learns that multiple people are trespassing in
       his partially completed house, and communicates with the police and with his
       neighbors about the trespasses.

       In 2019, Larry English – who lived two hours away, in Coffee County – began

construction on a new home in Glynn County’s Satilla Shores neighborhood. Dkt. 110,

¶18. Around October of that year, English set up several motion-sensor security

cameras inside the structure to help him monitor the site from afar, and began receiving

video alerts on his phone showing various persons trespassing inside the partially

completed home. Dkt. 110, ¶ 22. Between October 2019 and February 2020, English


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received at least eleven such alerts, many of which he reported to the Glynn County

Police Department using the non-emergency line. Dkt. 110, ¶ 23.

      On October 25, 2019, Glynn County officers including Defendant Robert Rash

responded to the construction site after English called to report a trespasser captured by

his security cameras. Dkt. 110, ¶ 24. Officer Rash exchanged phone numbers with

English. Id. Additional trespassers appeared on November 17 and November 18, 2019,

and English called the non-emergency line both times. Dkt. 110, ¶¶ 25, 26.

      Plaintiff alleges that “[a]fter having to respond to several of these reports from

English, the Glynn County Police Department authorized certain of English’s neighbors

to respond on law enforcement’s behalf.” Dkt. 110, ¶ 27. Following this vague and

conclusory statement are four subsections pertaining to four different neighbors, none

of which contains sufficient factual allegations to support the claim that the County

“authorized [] neighbors to respond on law enforcement’s behalf.” Id.

      A.     Diego Perez

      After receiving video recordings of trespassers at the site on November 17 and

November 18, 2019, English physically visited the site on November 19, 2019. Dkt. 110,

¶ 28. That day, he met his neighbor Diego Perez, whose property backs up to English’s.

Id. After the men exchanged phone numbers, English texted Perez the video of the

November 18 intrusion into the house. Dkt. 110, ¶ 30. In response, Perez offered to walk

over to English’s property and enter the house if English notified him next time a

trespasser was detected, and stated that he would also install a camera on his own


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home to monitor English’s house. Dkt. 110, ¶ 31. Although Plaintiff repeats the

conclusory statement that “Glynn County Police Department officials authorized Perez .

. . to act as [a] law enforcement officer[] and provided [him] with information to assist

in law enforcement activity,” no factual allegations relevant to this statement are

pleaded. Dkt. 110, ¶ 29. Plaintiff does not allege that Perez had any substantive

discussion with Glynn County officials.

       B.     Gregory McMichael

       On December 20, 2019, English texted Officer Rash a video clip of someone

trespassing inside the house three days prior. Dkt. 110, ¶ 32. Rash responded the same

day, telling English that one of his neighbors – Greg McMichael – was “retired Law

Enforcement and also a Retired Investigator from the DA’s office.” Dkt. 110, ¶ 33. Rash

then provided McMichael’s contact information and relayed a message from

McMichael, who had evidently said that English could “call him day or night” if

anything appeared on his security cameras. Id.

       Rash’s text message to McMichael, which is reproduced in its entirety in the First

Amended Complaint, contained no further information. Dkt. 110, ¶ 33. Rash did not

indicate that McMichael had stated he would take any specific action in response to

receiving a call from English about a trespass at the site. Id. Rash did not indicate to

English that McMichael was authorized to act on behalf of law enforcement or on behalf




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of Glynn County2, and in fact, Plaintiff acknowledges that Rash was careful to make

clear that McMichael was not a law-enforcement officer and was instead “retired.” Dkt.

110, ¶ 43.

       Nevertheless, Plaintiff alleges that the text message “reflected the Glynn County

Police Department’s deputization, ratification, and endorsement of Defendant Gregory

McMichael acting as a law enforcement agent under color of law,” and reflected that

Rash “had communicated with Defendant Gregory McMichael to confirm his

willingness to respond to English’s complaints of trespassers entering his structure.”

Dkt. 110, ¶ 34. But the sole factual basis for these statements is the text message, which

contains no information about McMichael actually responding in any way to

complaints of trespassers at the construction site. Plaintiff does not plead any factual

allegations about a discussion or agreement between McMichael and anyone else about

McMichael taking action in response to reports of intruders at the construction site – let

alone about McMichael doing so on behalf of law enforcement.

       C.     Travis McMichael

       Although the conclusory statement in Paragraph 27 suggests that the subsections

following it will explain the manner in which “the Glynn County Police Department

authorized certain of English’s neighbors to respond on law enforcement’s behalf,” the


       2
               As noted below, English certainly did not interpret the December 20, 2019
text message to mean that McMichael was authorized to respond on behalf of law
enforcement officers to trespasses at the construction site; he called a different neighbor
and also contacted Officer Rash, but did not call McMichael, in response to seeing a
trespasser at the site in February 2020. Dkt. 110, ¶¶ 63, 68.

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subsection concerning Travis McMichael does not even allude to that subject. Rather,

Plaintiff alleges that Travis McMichael has “an extensive history of racist and anti-Black

behavior,” and goes on to detail instances thereof. Dkt. 110, ¶¶ 48-54. Plaintiff offers no

factual allegations about any interaction between Travis McMichael and any person

affiliated with Glynn County, let alone factual allegations sufficient to suggest that

Travis McMichael was somehow authorized to act on behalf of Glynn County law

enforcement.

       D.      William Bryan

       Likewise, Plaintiff’s factual allegations concerning William Bryan concern only

alleged “racist and anti-Black comments.” Dkt. 110, ¶¶ 57-60. Bryan is not alleged to

have spoken with any person affiliated with Glynn County, and again, Plaintiff pleads

no factual information concerning any alleged authorization of Bryan to act on behalf of

Glynn County law enforcement.

II.    On February 11, 2020, Glynn County officers physically respond to a call that
       someone is trespassing at the home site.

       English received a video alert on February 11, 2020, showing a man – Ahmaud

Arbery – trespassing inside his house.3 Dkt. 110, ¶¶ 61, 62. He sent a text message to

Perez, the immediate neighbor who had offered to enter the house if the security

cameras detected anyone inside. Dkt. 110, ¶ 63. Perez armed himself and walked to



       3
             Although Plaintiff does not directly acknowledge that Arbery was trespassing
by entering English’s partially completed home, the First Amended Complaint repeatedly
uses the term “trespass” to describe identical behavior by others. Dkt. 110, ¶¶ 17, 27.

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English’s property, where he encountered Travis McMichael, who happened to have

been driving by as Arbery was entering English’s house. Dkt. 110, ¶ 64. Travis

McMichael called 911 and stated that a man had run into a house under construction,

and that four neighbors were trying to “find and stop” him. Dkt. 110, ¶ 65. Plaintiff

alleges that the neighbors, including Perez and the McMichaels, “believed they had

authority to pursue the man . . . because they had been deputized by the Glynn County

Police Department, including Defendant Officer Rash.” Dkt. 110, ¶ 67. But Plaintiff’s

only factual allegation relevant to this conclusion is the December 20, 2019 text message

from Officer Rash to English, which stated only that Greg McMichael had encouraged

English to tell him if anyone trespassed in the house.

       After texting the video of Arbery to Perez, English also texted it to Officer Rash.

Dkt. 110, ¶ 68. Rash, as well as other unidentified Glynn County officers, responded to

English’s property. Id. Although Plaintiff alleges that the officers “conducted a joint

search” while working “in conjunction and in conspiracy with” the neighbors, the sole

factual basis for these statements is a text message sent by Perez to English later in the

evening, stating that “[t]he police showed up and we all searched for a good while.”

Dkt. 110, ¶¶ 69-71. And although Plaintiff alleges that the neighbors searching for

Arbery on February 11 were armed and intended to “confront and arrest [Arbery] by

force or threat of force,” the First Amended Complaint makes clear that Rash and the

other officers did not appear at the site until “after Perez and Defendant Travis

McMichael engaged in their armed pursuit.” Dkt. 110, ¶ 68 (emphasis supplied).


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       Within the section of the First Amended Complaint setting forth factual

allegations regarding February 11, Plaintiff claims that the neighbors had already been

deputized prior to that date.4 Dkt. 110, ¶¶ 67, 70. However, later in the First Amended

Complaint, Plaintiff repeatedly asserts that the deputization actually occurred on

February 11, 2020.5 Dkt. 110, ¶¶ 250, 258. The only well-pleaded factual allegations

concerning the County’s involvement in the events of February 11 are 1) that Rash

received a text message from English indicating that a trespasser, who turned out to be

Arbery, was in the house; 2) that Rash and other officers responded to the property; 3)

that Perez and Travis McMichael had already armed themselves and searched the

property by the time Rash and the other officers arrived; 4) that McMichael told Rash he

had done so; and 5) that some of the neighbors were present while officers also

searched the property. Dkt. 110, ¶¶ 68, 70, 76. These allegations – essentially, that the

neighbors and officers were present at the same time on the property and were all

looking for the person who had just entered the house – fall far short of establishing

that the neighbors were deputized to act on behalf of law enforcement on February 11.



       4
             As noted above, the factual allegations concerning the time period leading
up to February 11 do not support that contention.
       5
                Plaintiff’s First Amended Complaint is a classic shotgun pleading, inasmuch
as each count “adopts the allegations of all preceding counts, causing each successive count
to carry all that came before and the last count to be a combination of the entire complaint.”
Weiland v. Palm Beach Cty. Sheriff's Off., 792 F.3d 1313, 1321 (11th Cir. 2015). Although this
makes the First Amended Complaint confusing to parse and cumbersome to respond to,
ultimately, sufficient factual allegations to support Plaintiff’s claims against Glynn County
do not appear anywhere in the First Amended Complaint’s 322 paragraphs.

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Plaintiff’s passing suggestion in several counts of the First Amended Complaint that the

events of February 11 amounted to a deputization is not supported by the

corresponding factual allegations.

III.     On February 23, 2020, Arbery is pursued, shot, and killed by a group of private
         citizens after they see him running through their neighborhood.

         Absent from the 60-paragraph section of Plaintiff’s First Amended Complaint

entitled “Ahmaud Arbery’s Murder” is any factual allegation relevant to Glynn County.

No one affiliated with the County knew that Gregory McMichael saw Arbery running

through his neighborhood on February 23, 2020. Dkt. 110, ¶ 86. No one affiliated with

the County knew that Gregory McMichael and Travis McMichael decided to arm

themselves and pursue Arbery based on a “gut feeling” that Arbery was responsible for

previous thefts in the neighborhood. Dkt. 110, ¶¶ 91-94. No one affiliated with the

County knew that Defendant Bryan joined the McMichaels’ pursuit. Dkt. 110, ¶ 103.

And save for the dispatcher who had answered a 911 call from Gregory McMichael only

moments prior, no one affiliated with the County knew that Bryan and the McMichaels

cornered Arbery with their vehicles and Travis McMichael fatally shot him with a

shotgun. Dkt. 110, ¶¶ 117-127. The only persons present during these events – Arbery,

Bryan, and the McMichaels – were private citizens.

         Plaintiff does claim that the McMichaels “armed themselves to carry out duties

they had been entrusted with by the Glynn County Police Department in response to

recent trespasses at the Construction Lot.” Dkt. 110, ¶ 95. But as discussed above, the

factual allegations in Plaintiff’s First Amended Complaint do not come anywhere close

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to suggesting that the Glynn County Police Department, or anyone authorized to act for

it, had entrusted the McMichaels to carry out duties on its behalf. Again, the only well-

pleaded facts relevant to this claim are the December 20, 2019 text message from Rash to

English, and the simultaneous attempts by neighbors and police to locate a trespasser

on February 11, 2020, after English texted both groups about an incursion on his

property. Dkt. 110, ¶¶ 33, 68. Moreover, on the day of Arbery’s death, Bryan and the

McMichaels were not responding to a “trespass at the Construction Lot.” Neither the

McMichaels nor Bryan even knew that Arbery had been on English’s property that day;

rather, Gregory McMichael saw Arbery running past his house and decided to pursue

him, and the others joined the pursuit. Dkt. 110, ¶¶ 88, 91, 101.

IV.     Glynn County officers confer with the District Attorney to determine whether
        criminal charges should be brought in connection with the shooting, and follow
        her guidance.

        Officers did respond to the scene of the shooting after Arbery was killed.6 Dkt.

110, ¶ 139. Plaintiff alleges that the unnamed officers were “given admissions,

statements, and video while Ahmaud’s body still lay on the street that established that



        6
              In the First Amended Complaint, Plaintiff for the first time pleads a claim for
deliberate indifference against one of the responding officers. Defendant Ricky Minshew
has moved for dismissal, and his motion remains pending. Dkt. 124. Plaintiff does not
attempt to state a claim against Glynn County based on the actions of Defendant Minshew,
and instead grounds her claim against the County solely on the actions of Defendant Rash.
See Dkt. 110, ¶¶ 277-292 (setting forth sole cause of action against Glynn County and
referring only to Rash and to policies relevant to Rash’s alleged actions). Glynn County will
not repeat unnecessarily the facts relevant to Minshew, which are discussed in Minshew’s
motion to dismiss but which are ultimately irrelevant to Plaintiff’s claims against Glynn
County.

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he was murdered,” but “failed to make arrests at the scene of the murder.” Dkt. 110, ¶¶

143, 145. But Plaintiff does not identify any of the officers to whom these “admissions,

statements, and video” were allegedly given, much less offer well-pleaded factual

allegations about what information was actually conveyed. Moreover, Plaintiff

acknowledges that officers contacted District Attorney Jackie Johnson that same day to

inquire whether charges should be brought and arrests made in connection with the

shooting. Dkt. 110, ¶ 162. Johnson not only stated that “there was no need to arrest the

McMichaels at the time” – she specifically “directed police officers [] to not charge

Defendants Gregory McMichael, Travis McMichael, and Bryan with any crimes related

to Ahmaud’s murder.” Dkt. 110, ¶¶ 161, 162. Johnson informed the officers that they

would receive further instructions from the Ware County District Attorney’s office the

following day. Dkt. 110, ¶ 162. The next morning, the Ware County District Attorney

told Glynn County Police Department detectives that the shooting was a “justifiable

homicide,” and reiterated Johnson’s instruction to police “to not charge Defendants

Gregory McMichael, Travis McMichael, and Bryan with any crimes related to

Ahmaud’s murder.” Dkt. 110, ¶¶ 175, 178.

                                    Standard of Review

       Where a defendant challenges a complaint for failing to adequately state a claim

upon which relief can be granted, the court should apply a "two-pronged approach" in

analyzing the complaint. See Am. Dental Ass'n v. Cigna Corp., 605 F.3d 1283, 1290 (11th

Cir. 2010) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)). First, the court should


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"eliminate any allegations in the complaint that are merely legal conclusions." Id. This

first prong excludes "threadbare recitals of a cause of action's elements, supported by

mere conclusory statements." Iqbal, 556 U.S. at 678. Second, the court should assume

that all well-pleaded factual allegations are true "and then determine whether [those

allegations] plausibly give rise to an entitlement to relief." Am. Dental Ass'n, 605 F.3d at

1290. In determining plausibility, the court should "draw on its experience and common

sense." Iqbal, 129 S.Ct. at 1950. Moreover, it is proper for the court to infer " 'obvious

alternative explanation[s]' which suggest lawful conduct rather than the unlawful

conduct the plaintiff[s] would ask the court to infer." Am. Dental Ass'n, 605 F.3d at 1290

(quoting Iqbal and relying on Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007)).

Ultimately, if the plaintiffs have not "nudged their claims across the line from

conceivable to plausible, their complaint must be dismissed." Id. at 1289 (quoting

Twombly, 550 U.S. at 570).

                           Argument and Citation of Authority

       In the First Amended Complaint, Plaintiff asserts a single claim against Glynn

County under 42 U.S.C. §1983 for “failure to supervise, discipline, and train.” Dkt. 110,

p. 40. The crux of that claim is that allegedly insufficient training “was the moving

cause behind Defendant Police Officer Robert Rash encouraging and deputizing

Defendants Travis McMichael, Gregory McMichael and William Bryan to take law

enforcement action on behalf of Glynn County Police Department.” Dkt. 110, ¶ 286.

Plaintiff’s claims against Glynn County rest entirely on the flawed premise that Rash


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“deputized” the private Defendants to act on behalf of the County, and that the actions

of Rash and the private Defendants can thus be imputed to the County. But Rash did

not – and, as a matter of law, could not – do any such thing. For this reason alone, any

claim Plaintiff could assert against Glynn County would be subject to dismissal.

       Moreover, even if Plaintiff had pleaded a wrongful act by Rash or any other

Defendant for which Glynn County could potentially held liable, the factual allegations

of the First Amended Complaint would fall far short of actually stating a claim against

Glynn County. To survive a motion to dismiss a claim based on a county’s failure to

train or supervise its law-enforcement officers, a plaintiff must generally plead facts

suggesting that the county was on notice of a need to train its officers as a result of a

widespread history of substantiated constitutional violations similar to the one at issue.

Plaintiff’s allegations of sporadic, unrelated malfeasance by Glynn County law

enforcement personnel do not meet this standard. For this second and independently

sufficient reason, dismissal is warranted.

I.     The acts of the private defendants cannot be imputed to Glynn County under
       any theory of liability.

       A.     Under Georgia law, a police officer has no authority to deputize private citizens to
              act on behalf of the government entity that employs him.

       Plaintiff’s argument is an unusual one – what scant authority exists regarding

deputization of private citizens under Georgia law is, on average, at least a hundred

years old. In the late nineteenth century, the Supreme Court of Georgia could find “no

law which authorizes [a sheriff] to ‘deputize’ a private citizen either to make, or assist in


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making, [an] arrest, and thus constitute the person so ‘deputized’ an officer.” Robinson

v. State, 93 Ga. 77, 18 S.E. 1018, 1019 (1893). However, the Robinson court noted, a

Georgia sheriff at that time could “summon to his assistance [in serving a penal

warrant] . . . any citizen of the county.” Id. Citizens so summoned would be “not

themselves officers, nor [] mere private persons,” but instead would be considered a

posse comitatus so long as they were cooperating with the sheriff and working under his

orders. Id. A member of such a posse acted under color of law, and was entitled to the

same legal protections as the sheriff himself, so long as he and the sheriff were “in the

same neighborhood, actually endeavoring to make the arrest, and acting in concert with

a view to effect this.” Id.

       In 1910, the Supreme Court held that “[a]n officer charged with the execution of

process” – a sheriff – “may deputize another person to serve process within his

presence, and the arrest will be legal if made in the presence of the officer to whom the

warrant is directed.” Hill v. State, 8 Ga. App. 77, 68 S.E. 614, 614 (1910). Hill actually sets

forth a more restrictive rule than the earlier Robinson by requiring that a person serving

a warrant at the sheriff’s request be in the sheriff’s immediate physical presence at the

time of service. Id. A 1938 case affirmed that a statutorily authorized deputization by

the Commissioner of Game and Fish was valid. Hanna v. Estridge, 59 Ga. App. 182, 200

S.E. 174 (1938). And a handful of current statutes likewise authorize deputizations by

certain law-enforcement officials. See O.C.G.A. §42-5-34 (allowing wardens and

superintendents of penal institutions to “deputize any person in their employ”);


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O.C.G.A. §35-9-2 (authorizing the governor to deputize “special police” with limited

powers to protect certain kinds of real property).

       All of the above authority has one thing in common – the persons with the

authority to deputize others to carry out limited law-enforcement duties are, uniformly,

the highest-ranking officials in their respective governmental bodies. No Georgia court

has ever found, and no Georgia statutes provide, that a lower-ranking law enforcement

officer can appoint others to act on behalf of the government entity that employs him.

       As to whether conduct by private citizens may be imputable to a law-

enforcement officer and his employer, even if the officer cannot formally “deputize” the

private citizens, cases arising in the context of property repossessions are instructive.

Appellate courts have recognized that the procedural due process protections of the

Fourteenth Amendment may be implicated where a law-enforcement officer is

physically present and actively assists one party in a property dispute in gaining

possession over the disputed property. See Marcus v. McCollum, 394 F.3d 813, 819 (10th

Cir. 2004) (collecting cases from appellate courts, including the Eleventh Circuit). “[T]he

crucial question is whether the police officer was (1) present simply to stand by in case

there was a breach of the peace, or (2) taking an active role that either affirmatively

assisted in the [seizure] . . . or intentionally intimidated the [other party] so as to

prevent him from exercising his legal right to object to the [seizure].” Barrett v. Harwood,

189 F.3d 297, 302–03 (2d Cir. 1999). “[T]he overarching lesson of the case law is that

officers may act to diffuse a volatile situation, but may not aid the repossessor in such a


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way that the repossession would not have occurred but for their assistance.” Marcus v.

McCollum, 394 F.3d 813, 819 (10th Cir. 2004). One factor that the Eleventh Circuit has

found particularly relevant in determining whether an officer’s presence rises to the

level of state participation in a private seizure is whether the officer accompanies the

private party attempting to take possession to the property, thereby potentially giving

the possession “a cachet of legality.” Booker v. City of Atlanta, 776 F.2d 272, 274 (11th Cir.

1985).

         Of course, cases concerning property disputes between private parties are

factually distinguishable from this case, in which Plaintiff alleges that the private

Defendants killed another private citizen without provocation or justification. But the

foregoing authority does suggest several factors for evaluating whether actions directed

by one private citizen at another private citizen can be imputed to a law-enforcement

officer: whether the officer was physically present, whether the officer accompanied the

private citizen to the site, whether the officer actively participated in the private

citizen’s unlawful actions, and whether the private citizen’s unlawful actions could

have occurred in the same way without the officer’s involvement. Where many or all of

these factors are present, the improper actions of the private citizen may ultimately be

imputed to the officer. Booker v. City of Atlanta, 776 F.2d 272, 274 (11th Cir. 1985).

         Here, although Plaintiff makes numerous conclusory statements that the “Glynn

County Police Department” authorized the private Defendants to act as law

enforcement officers, the factual allegations of the First Amended Complaint concern


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only the actions of Officer Rash. Plaintiff does not allege that Rash held a leadership

position within the Glynn County Police Department, and indeed, he did not. Certainly,

Rash did not hold a position on par with that of a sheriff, a state commission head, a

prison warden, or the Governor – executives whom Georgia law has recognized as

having some authority to deputize others to carry out law-enforcement functions. And

in any event, the power of those officials to delegate authority to private citizens is

limited: sheriffs may deputize citizens to serve a specific warrant, but must remain in

close if not immediate proximity while service occurs; prison wardens may only

deputize persons who are already in their employ; the Governor can deputize special

police only in response to a written application identifying the citizen to be appointed

and the specific real property on which that citizen will serve. Robinson v. State, 93 Ga.

77, 18 S.E. 1018, 1019 (1893); Hill v. State, 8 Ga. App. 77, 68 S.E. 614, 614 (1910); O.C.G.A.

§42-5-34; O.C.G.A. §35-9-2. No official in Georgia has the ability to orally appoint

private citizens to act as full-fledged law-enforcement officers, and a street-level officer

like Rash has no authority to deputize anyone to do anything.

       Nor can Plaintiff show that Rash – or Glynn County – became responsible for the

private Defendants’ actions by some means short of actual deputization. None of the

factors identified in the analogous context of private-party property disputes is met

here. Neither Rash nor any other Glynn County officer was present for, accompanied

the private Defendants for, or participated in any way in, the events leading to the

shooting of Arbery on February 23, 2020. Far from alleging that County officials actively


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“aid[ed] the [private Defendants] in such a way that the [shooting] would not have

occurred but for their assistance,” Plaintiff points out that the private Defendants did

not contact law enforcement to report their suspicions about Arbery. Marcus v.

McCollum, 394 F.3d 813, 819 (10th Cir. 2004); Dkt. 110, ¶ 94.

       As a matter of law, neither Defendant Rash nor any other Glynn County police

officer had the authority to deputize or otherwise empower the private Defendants to

perform law-enforcement work on the County’s behalf. Because Plaintiff’s claim against

Glynn County depends on this theory of deputization to link the actions of the private

Defendants to the County, and because that theory does not enjoy support in law,

Plaintiff’s claims against the County fail.

       B.     The alleged actions of Officer Rash would not amount to a deputization of the
              private Defendants even if such deputization were possible.

       Plaintiff’s First Amended Complaint is long on vague, conclusory statements

attempting to impute to Glynn County the actions of the private Defendants, but short

on factual allegations. So few are the well-pleaded facts, and so many are the

unsupported conclusions of law, that the foregoing Statement of Facts necessarily

includes significant analysis of the insufficiency of the factual allegations to support the

legal conclusions. The discussion on pages 4-10, above, shows that even if Defendant

Rash could have deputized private citizens to act as law-enforcement officers, the facts

alleged by Plaintiff fall well short of establishing that this actually occurred. Rather,

Plaintiff alleges only that Rash sent a single text message to English on December 20,

2019, letting English know that his neighbor was interested in any further reports of

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trespasses at English’s property, and that Rash responded at the property after

receiving a message from English about such a trespass on February 11, 2020. For the

reasons set forth fully above, these scant factual allegations do not support any of

Plaintiff’s sweeping claims that Rash authorized English’s neighbors to respond to

trespassers on English’s property, and Plaintiff’s claims would fail even if the

deputization theory were not a legal impossibility.

       C.     Even if Glynn County officers had attempted to deputize the private Defendants,
              their actions would not have been the cause of Arbery’s shooting.

       Because the “mechanical structure” of §1983 is similar to the common law of

torts, a §1983 plaintiff “must establish an adequate causal link between the alleged harm

and the alleged unlawful conduct.” Dixon v. Burke Cty., Ga., 303 F.3d 1271, 1274–75 (11th

Cir. 2002). Without causation, a §1983 case fails as a matter of law. Id. “The connection

between conduct and harm must be legally sufficient to satisfy notions of common

fairness and policy.” Id. “Recovery of damages is limited to those injuries proved to be

caused by the defendants.” Troupe v. Sarasota Cty., Fla., 419 F.3d 1160, 1165–66 (11th Cir.

2005). For damages to be caused by a constitutional tort, a plaintiff must establish two

elements: (1) cause-in-fact, which requires showing that except for that constitutional

tort, such injuries and damages would not have occurred, and (2) proximate causation,

which requires showing that such injuries and damages were the reasonably foreseeable

consequences of the tortious acts or omissions in issue. Jackson v. Sauls, 206 F.3d 1156,

1168 (11th Cir. 2000).



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       In Jackson v. Sauls, officers’ illegal conduct during an investigatory stop was held

to be the direct and proximate cause of an ensuing shootout that wounded one plaintiff

and killed another. A group of three undercover police officers, all of whom were

wearing sweatshirts and jeans, suspected that a certain car on the highway might be

stolen, and pursued the car until the occupants got out at a motorcycle shop. Jackson v.

Sauls, 206 F.3d 1156, 1161-62 (11th Cir. 2000). The officers entered the shop and ordered

everyone inside to get on the ground, “yelled obscenities at them . . . and never

identified themselves as police officers.” Id., 1162. Everyone in the shop testified that

they believed the officers were “armed robbers about to harm them,” and one man –

who was not in the car the officers followed to the shop – drew his weapon and fired

several times, striking one of the officers. Id. The officer ran out of the building and then

fired several shots back toward the doorway, hitting and injuring one of the men in the

building who had obeyed the command to get on the ground. Id. Another of the officers

shot and killed a different occupant of the building as the man attempted to crawl

outside. Id.

       The officers argued that the actions of the man in the motorcycle shop who fired

on them broke the chain of causation from their unlawful investigative detention of the

building’s occupants and the subsequent injury and death to two of those occupants.

The trial court rejected this argument, and the Eleventh Circuit affirmed, concluding

that the element of proximate cause was satisfied because it was reasonably foreseeable

that someone in the shop would perceive them to be armed robbers and open fire.


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Jackson v. Sauls, 206 F.3d 1169 (11th Cir. 2000). The Jackson court also analyzed the cause-

in-fact element, walking through the “chain reaction” of events that was set off by the

officers’ unlawful stop and explaining how each event caused the next to occur. Id.,

1168-69. Ultimately, the court concluded that jury issues with regard to causation

precluded summary judgment in favor of the officers.

       By way of contrast, in Troupe v. Sarasota Cty., Fla., the Eleventh Circuit granted

summary judgment on causation grounds. There, a SWAT team serving a warrant at a

residence surrounded the suspect’s car with guns drawn after the suspect and two other

men fled the residence and locked themselves in the car. 419 F.3d at 1163-64. The men

failed to comply with officer commands to show their hands and exit the vehicle, and

the suspect then began driving the vehicle back and forth in the midst of the group of

officers. Id. at 1164. Eventually, he broke free of the officers surrounding the vehicle and

began to drive out of the yard, causing two of the defendant officers to fire at the car;

one officer missed, and the other fired a shot that went through the car window and hit

the suspect in the back. Id. The suspect then drove more than a quarter mile away

before crashing the car into a concrete wall while trying to evade other officers, killing

himself and one of his passengers in the process. Id. The other passenger was injured,

and he and the administrator of the estate of the deceased passenger brought suit,

making a Fourth Amendment claim against the two officers who fired on the vehicle. Id.

The district court granted summary judgment on the Fourth Amendment claim on the

ground that the defendants did not proximately cause the plaintiffs’ injuries, and on


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appeal, the Eleventh Circuit affirmed, holding that the driver’s operation of the car after

he was shot “was the intervening cause” of the passengers’ injuries. Troupe, 419 F.3d at

1166.

        Here, Plaintiff’s theory of recovery against the County rests on the assumption

that Officer Rash “deputized” the private Defendants to act as law-enforcement officers

on the County’s behalf. As shown above, Rash could not, and did not, make any such

deputization. However, even if Rash had the ability to “authorize[] certain of English’s

neighbors to respond on law enforcement’s behalf . . . in the event of further trespasses

on his property,” and even if Rash had exercised that authority – neither of which is

true – Plaintiff’s claims would still fail for want of a causal connection between Rash’s

actions and those of the private Defendants. Assuming, solely for the sake of argument,

that Rash could and did authorize the private Defendants to respond to trespasses on

English’s property, it might be foreseeable that the neighbors would walk to English’s

property and attempt to locate the suspected trespasser the next time English alerted

them.

        But it would not be reasonably foreseeable that the private Defendants would get

a “gut feeling” that one of the many people seen on English’s security cameras was

responsible for thefts in the neighborhood. Dkt. 110, ¶ 93. It would not be reasonably

foreseeable that the private Defendants, upon seeing Arbery jogging down the street –

nowhere near English’s house, on a day that English had not informed them of any

trespass at the lot – would begin following him through the streets in their trucks. Dkt.


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110, ¶¶ 86, 88. It would not be reasonably foreseeable that the private Defendants

would attempt to physically apprehend Arbery despite having no reason to believe he

had committed any crime. Dkt. 110, ¶¶ 93, 101. And it would not be foreseeable that the

private Defendants would trap Arbery with their vehicles and shoot him with a gun

“without provocation.” Dkt. 110, ¶¶ 113, 124. Even if Rash actually had deputized the

private Defendants to respond to English’s reports of trespassers at his house, such

deputization would not be the proximate cause of a decision by the private Defendants

to chase and shoot Arbery on a day they did not see him anywhere near English’s

property.

       Likewise, whereas the facts in Jackson allowed a smooth chain of causation to be

identified – officers in plainclothes ran into a building with guns drawn, swearing and

ordering everyone inside to get on the floor, causing the occupants of the building to

fear that they were being attacked by armed robbers, causing one of the occupants to

fire on the officers in self defense, causing the officers to fire back and hit two people –

no such connections can be drawn here. Again assuming arguendo that Rash deputized

the private Defendants to respond to English’s reports of trespassers at his house, such

deputization would not have caused the private Defendants to get a “gut feeling” that

Arbery – alone out of the many trespassers captured on English’s cameras – was

somehow guilty of theft. And deputization to respond to English’s reports of

trespassers at his house would not have caused the private Defendants to decide to

pursue and apprehend Arbery on a day he was nowhere near English’s property and


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English did not contact anyone. Had a deputization occurred as Plaintiff alleges, it

would not be the cause-in-fact of any of the events that occurred on February 23, 2020.

        Like the driver in Troupe, the private Defendants engaged in erratic and

unpredictable behavior after Officer Rash last took action relevant to this case. The

alleged actions of the private Defendants, which were not reasonably foreseeable and

did not flow from any actions by Rash or other County officials, were the sole

proximate cause and cause-in-fact of Arbery’s death. For this additional reason,

Plaintiff’s claims fail.

II.     Plaintiff’s First Amended Complaint fails to state a claim for failure to
        supervise, discipline, or train under 42 U.S.C. §1983.

        Supervisory entities may be held liable under §1983 where they “direct their

subordinates to act unlawfully, or know their subordinates will act unlawfully but fail

to stop them.” Keating v. City of Miami, 598 F.3d 753, 762 (11th Cir. 2010) (citing Belcher v.

City of Foley, 30 F.3d 1390, 1396 (11th Cir. 1994)). In other words, an employer is liable

for its employee’s violation of a plaintiff’s rights only where the employer “officially

sanctioned or ordered” the offending conduct. Brown v. City of Fort Lauderdale, 923 F.2d

1474, 1479 (11th Cir.1991).

        Absent evidence of direct participation in a constitutional violation, liability

cannot attach to a government entity unless there is a causal connection between its

actions and the eventual violation. Brown v. Crawford, 906 F.2d 667, 671 (11th Cir. 1990).

Causal connections are established when supervisory entities “direct their subordinates

to act unlawfully, or know their subordinates will act unlawfully but fail to stop them.”

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Keating v. City of Miami, 598 F.3d 753, 762 (11th Cir. 2010) (citing Belcher v. City of Foley,

30 F.3d 1390, 1396 (11th Cir. 1994)).

        The inadequacy of law-enforcement training may serve as the basis for § 1983

liability only where the failure to train amounts to deliberate indifference to the rights

of persons with whom the officers come into contact. Gold v. City of Miami, 151 F.3d

1346, 1350-51 (11th Cir. 1998). To establish such “deliberate indifference,” “a plaintiff

must present some evidence that the municipality knew of a need to train and/or

supervise in a particular area and the municipality made a deliberate choice not to take

any action.” Id. In order to demonstrate that a supervisory entity knew of a need to

train, a plaintiff must show “a history of widespread prior abuse” that could be

remedied by training. Wright v. Sheppard, 919 F.2d 665 (11th Cir.1990). This “prior

abuse” must consist of numerous, “substantially similar” instances of unlawful

behavior by City employees that were “obvious, flagrant, rampant, and of a continued

duration.” Mercado v. City of Orlando, 407 F.3d 1152, 1162 (11th Cir. 2005); Denno v.

School Bd. of Volusia County, Fla., 218 F.3d 1267, 1277 (11th Cir.2000).

       Additionally, allegations concerning mere prior complaints of unlawful prior

conduct are insufficient – the plaintiff must prove that those complaints actually had

merit. See Brooks v. Scheib, 813 F.2d 1191, 1193 (11th Cir. 1987) (holding that evidence of

ten unsubstantiated excessive-force complaints did not prove city policy of condoning

or tolerating excessive force). And even where factually similar cases involving

substantiated violations are identified, a plaintiff must identify more than three or four


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previous violations to show that abuses are “obvious, flagrant, rampant, and of a

continued duration.” Denno v. School Bd. of Volusia County, Fla., 218 F.3d 1267, 1277 (11th

Cir.2000) (three similar violations in short period of time did not meet “obvious,

flagrant, rampant, and of a continued duration” standard); Clark v. Evans, 840 F.2d 876,

885 (11th Cir.1988) (four violations in four years did not meet standard). The Eleventh

Circuit has noted that this is an “intentionally onerous” standard of proof, and that

anything less would essentially “equate to subjecting the [supervising entity] to

respondeat superior liability — a result never intended by section 1983.” Gold v. City of

Miami, 151 F.3d 1346 (11th Cir. 1998).

       While the Supreme Court has noted in dicta that employer liability could also

attach in the absence of prior incidents, it limited this possibility to a very narrow set of

circumstances where the need for training is “so obvious,” and the lack of training “so

likely to result in the violation of constitutional rights,” that the failure to train amounts

to deliberate indifference. City of Canton, Ohio v. Harris, 489 U.S. 378, 390, 109 S. Ct. 1197,

1205, 103 L. Ed. 2d 412 (1989). Neither the Supreme Court, nor the Eleventh Circuit, has

ever held that the facts of an actual case before it met this standard, despite numerous

invitations to do so. See, e.g., Keith v. DeKalb Cnty., Georgia, 749 F.3d 1034, 1053 (11th Cir.

2014) (rejecting argument that failure to train jail employees on handling of mentally ill

patients met the “so obvious” standard). Instead, these courts routinely note that the

standard is “narrow” and would be met only under truly egregious circumstances, like




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those in a hypothetical situation where sworn officers are issued firearms and given no

training whatsoever in the use of those weapons. Harris, 498 U.S. at 390.

       Here, Plaintiff relies on a memorandum from the former County Manager that

allegedly concluded that there were certain deficiencies in the manner in which the

Glynn County Police Department was operated in 2019. Dkt. 110, ¶ 200. But the

conclusions from the report cited by Plaintiff are general in nature, and Plaintiff does

not identify any findings in the memorandum that citizens’ constitutional rights were

violated in connection with specific incidents. Of course, even an allegation that the

memorandum detailed numerous specific violations of constitutional rights would be

insufficient to state a claim for failure to train unless the violations were substantially

similar in nature to the one alleged here – but Plaintiff’s allegations about the

memorandum do not mention specific incidents at all.

       The only specific factual allegations offered by Plaintiff concerning alleged “prior

incidents of cover-up, corruption, and lack of accountability” concern four incidents

that occurred over a fourteen-year period. Dkt. 110, ¶¶ 220-231. But even if each of

these incidents involved meritorious claims of substantially similar constitutional

violations to the one alleged in this case – which they do not – four incidents in fourteen

years are insufficient to establish a “obvious, flagrant, rampant” pattern of improper

conduct. See Clark v. Evans, 840 F.2d 876, 885 (11th Cir.1988) (four violations in four

years did not meet “obvious, flagrant, rampant, and of a continued duration” standard).

The Court’s analysis could end here, but further examination of the alleged prior


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violations identified by Plaintiff reveals that none of them involve substantiated claims

of misconduct similar to that alleged in this case.

       First, Plaintiff alleges that in 2005, a Glynn County officer “shot and injured a

man in his car at a gas station.” Dkt. 110, ¶ 220. But Plaintiff does not plead that the

officer’s conduct was improper in any way, let alone that the officer’s conduct led to a

substantiated finding of a constitutional violation. Second, Plaintiff claims that “a

shocking violent video revealed illegal and unconstitutional conduct on behalf of law

enforcement” in connection with the death of Caroline Small. Dkt. 110, ¶ 222. That

claim was at the center of litigation brought by Small’s estate after her death – litigation

in which this Court ultimately concluded that “it is clear that no constitutional violation

occurred” in connection with Small’s death, a decision which the Eleventh Circuit

affirmed. Small v. Glynn Cty., Ga., 77 F. Supp. 3d 1271, 1286 (S.D. Ga. 2014), aff'd sub

nom. McGehee v. Glynn Cty., Ga., 598 F. App'x 752 (11th Cir. 2015). Third, Plaintiff

alleges that “Officer Rash covered up the violent conduct of a fellow officer” by

“fail[ing] to detain a fellow officer that assaulted his wife in front of Rash.” Dkt. 110, ¶

228. But Plaintiff does not claim that this alleged conduct was the subject of litigation,

internal review, or any other investigation that determined a constitutional violation

occurred. Indeed, Plaintiff does not even make a conclusory allegation that Rash’s

alleged conduct was unconstitutional – only that it was “violent” and “reckless.”

       Finally, Plaintiff identifies an incident in which a Glynn County investigator was

found to have been involved in a sexual relationship with a confidential informant, but


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does not explain how that incident has any relevance to this case. Dkt. 110, ¶ 231. It

does not – in fact, none of the four incidents alleged by Plaintiff (two officer-involved

shootings, failure to make an arrest after an officer witnessed an assault, and improper

sexual conduct with a confidential informant) is “substantially similar,” or even

remotely related, to the misconduct alleged in this case. The incidents identified by

Plaintiff involve neither “substantially similar” conduct nor substantiated constitutional

violations. As a result, Plaintiff’s claim for failure to train would fail even if four

incidents in a fourteen-year period would otherwise be sufficient to allow Plaintiff to

prove an “obvious, flagrant, rampant” pattern of misconduct. For each of these

independently sufficient reasons, Plaintiff cannot state a claim against Glynn County for

failure to train.

                                         Conclusion

       For the foregoing reasons, Defendant Glynn County respectfully requests that

the Court dismiss all claims asserted against it in Plaintiff’s First Amended Complaint.

       This twenty-ninth day of August, 2022.



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